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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
                                                           :   Chapter 11
                                                           :
                                                           :   Case No. 19-71020 (REG)
IN RE:                                                     :   Case No. 19-71022 (REG)
                                                           :   Case No. 19-71023 (REG)
                                           1
DÉCOR HOLDINGS, INC., et. al.,                             :   Case No. 19-71024 (REG)
                                                           :   Case No. 19-71025 (REG)
                  Post-Confirmation Debtors.               :
                                                           :   (Substantively Consolidated)
                                                           :
                                                           :   Hon. Robert E. Grossman
---------------------------------------------------------- X
BRYAN RYNIKER, IN HIS CAPACITY AS :
LITIGATION ADMINISTRATOR OF THE :
POST-CONFIRMATION                   ESTATES          OF :
DÉCOR HOLDINGS, INC., et al.,                              :
                                                           :
                           Plaintiff,                      :
                                                           :   Adv. Pro. No. 20-08125 (REG)
                  v.                                       :
                                                           :
BRAVO FABRICS, et al.,                                     :
                                                           :
                           Defendants.                     :
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                      Supplemental Findings of Fact and Conclusions of Law


                 Bryan Ryniker (the “Plaintiff”), the Litigation Administrator for the post-

confirmation debtors Décor Holdings, Inc., et al. (the “Debtors”), commenced separate

preference actions against three sets of defendants (“Defendants”) all represented by

Montgomery, McCracken, Walker & Rhoads LLP. The Defendants each filed motions


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            The debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Décor Holdings, Inc. (4174); Décor Intermediate Holdings LLC (5414); RAD Liquidation
Inc. (f/k/a The Robert Allen Duralee Group, Inc.) (8435); RAD Liquidation LLC (f/k/a The Robert Allen Duralee
Group, LLC) (1798); and RADF LLC (f/k/a The Robert Allen Duralee Group Furniture, LLC) (2835) (collectively,
the “Debtors”).


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(“Motions”) for summary judgment asserting the affirmative defenses of ordinary course of

business pursuant to 11 U.S.C. § 547(c)(2) and the contemporaneous exchange for new value

defense pursuant to 11 U.S.C. § 547(c)(2). The Plaintiff filed oppositions and cross-motions

(“Cross-Motions”) seeking entry of summary judgment regarding their prima facie cases as to

the preference claims. At a hearing held on December 1, 2021, the Court granted the Cross-

Motions, finding that the Plaintiff established a prima facie case regarding the preference claims

alleged in each adversary proceeding. The Court directed that the parties file additional briefs

regarding the ordinary course of business defense and reopened discovery with respect to the

new value defense. Pursuant to the Court’s directive, the parties were to choose the appropriate

test regarding the ordinary course of business defense and to apply it to their specific case. The

parties were also directed to submit supplemental briefs regarding the new value defense. The

Court has reviewed the briefs and for the reasons set forth below, the Court has determined that

based on the average lateness of the payments during the agreed upon two year period prior to

the preference period (“Baseline Period”) when compared with the average lateness of the

payments during the preference period, they are close enough to find that all of the payments

made during the preference period are within the parties’ ordinary course of business.

           While a bit complicated, most courts have concluded that the ordinary course of business

defense set forth in section 547(c)(2)(A) is a subjective test “’intended to protect recurring,

customary credit transactions that are incurred and paid in the ordinary course of business of the

debtor and the debtor’s transferee.’” Jacobs v. Gramercy Jewelry Mrg. Corp. (In re M.

Fabrikant & Sons, Inc.), Adv. No. 08-1690, 2010 WL 4622449 *2 (Bankr. S.D.N.Y. Nov. 4,

2010) (citing 5 Collier on Bankruptcy ¶547.04[2], at 547-51 (15th Ed. 2010). Being careful to

recognize that substantial deviations from the parties’ established practice are not protected, this




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defense is necessary to provide a level of predictability so that suppliers such as the Defendants

are permitted to keep payments that would otherwise be deemed preferences. Unsecured

Creditors Committee of Sparrer Sausage Co., Inc. v. Jason’s Foods, Inc., 826 F.3d 388, 393 (7th

Cir. 2016) (other citations omitted). Congress has stated that the purpose of the ordinary course

defense is to “leave undisturbed normal financial relations, because it does not detract from the

general policy of the preference section to discourage unusual action by either the debtor or his

creditors during the debtor’s slide into bankruptcy.” H.R. Rep. No. 95-595, at 373 (1977); S.

Rep. No. 95-989, at 88 (1977). In addition, where the parties’ commercial dealings have taken

place over a significant time period, courts should consider carefully before finding that the

debtor favored that creditor, and conversely, if the relationship is recent, courts will review the

credit terms more rigorously to determine whether the debtor favored one creditor over another.

In re Conex Holdings, LLC, 518 B.R. 269, 281 (Bankr. D. Del. 2014). With respect to the

Defendants in these adversary proceedings, the business relationship with the Debtors was not

recent and spanned for at least several years. Therefore, while the Defendants have the burden of

establishing their ordinary course defense, the Court does take into consideration that fact that

the Defendants had significant prior dealings with the Debtors which spanned over a number of

years.

           The relevant factors to consider when examining the ordinary course of business defense

are (1) the prior course of dealing, (2) the amount of payments, (3 the timing of the payments and

(4) the circumstances surrounding the payments. In re Hechinger Inv. Co. of Delaware, Inc.,

321 B.R. 541, 548-49 (Bankr. D. Del 2004). No one factor is determinative regarding this issue.

To determine whether transfers were in the ordinary course of business the Court is charged with

determining what the ordinary course of business was and then to compare the preferential




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transfers to it. The Plaintiff has acknowledged that the Debtors ordinarily paid the Defendants

beyond the stated terms of the invoice and undertook no unusual collection activity during the

preference period, that every payment during the preference period was made by check, as were

the payments during the Baseline Period, and the Debtors never informed the Defendants of any

financial troubles suffered by the Debtors. In addition, the Debtors admit that there was no

pressure put on the Defendants to pay during the preference period.

           The Bankruptcy Court has the sole discretion to determine which test or methodology to

apply when analyzing the payments during the preference period. Unsecured Creditors

Committee of Sparrer Sausage Co., 826 F.3d at 395. The two most common tests are the

average-lateness method and the total-range method. “The starting point – and often the ending

point – involves consideration of the average time of payment after the issuance of the invoice

during the pre-preference and post-preference periods, the so-called ‘average lateness’

computation theory.” In re Fabrikant, 2010 WL 6422449 at *3. If the differences in averages is

not material, the analysis ends there and all of the preference period transfers are deemed in the

ordinary course. Unsecured Creditors Committee of Sparrer Sausage Co., 826 F.3d at 396.

           If the differences in averages are material or the averages are skewed by outliers, the

Court may utilize a total range analysis or to further refine the test by applying a bucketing

analysis. See Sass v. Vector Consulting, Inc. (In re Am. Home Mortg. Holdings, Inc.), 476 B.R.

124, 138 (Bankr. D. Del. 2012) and R.A. Brooks Trucking Co. (In re Quebecor World (USA),

Inc), 491 B.R. 379, 388 (Bankr. S.D.N.Y. 2013). As stated by Seventh Circuit Court of

Appeals, “[w]hile the average lateness method better compensates for outlier payments during

the historical period, the total-range method often provides a more complete picture of the

relationship between the creditor and debtor.” Unsecured Creditors Committee of Sparrer




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Sausage Co., 826 F.3d at 395. Under the total range of payments test, the Court reviews all of the

payments made during the Baseline Period (which is agreed by all parties as the two years prior

to the 90-day preference period) and determines the range of payments from the earliest to the

latest. If the payments made during the preference period fit within the range, they are protected

by the ordinary course of business defense. If the Court finds that the range of payments during

the Baseline Period is too broad, the Court may adopt the bucketing analysis. Under the

bucketing analysis, the Court reviews the payments made during the baseline period and groups

them into buckets by age, then applies an appropriately sized bucket to the preference period

payments to determine wheat is ordinary and what is not. Id. at 396. As this Court previously

stated, a range from the Baseline Period that captures around 80% of the payments would be an

appropriate size bucket.

           As for the proper test to apply, the Defendants in each adversary proceeding have chosen

the average date of payment to compare the Baseline Period payments with the payments made

during the preference period. The Defendants argue that under this test, all of the preference

payments identified in each adversary proceeding would qualify as ordinary course payments.

The Defendants also applied the range of payments test, which also captured all of the payments

in each adversary proceeding as ordinary course payments. Finally, the Defendants compared

the payments in each case under the bucketing theory, which captured all but one payment in the

amount of $1,937.03 in adversary proceeding number 21-8040. Kaufmann, the defendant in that

adversary proceeding, has asserted that the new value exception would provide an adequate

defense to cover that payment as well.

           The Plaintiff has chosen the range of payments test because he believes it provides a

more complete picture of the relationship between each of the Defendants and Debtors than the




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average lateness test. According to the Plaintiff, using average payment times as a yardstick is

not appropriate because there are “wild variations” in the Baseline Period for each case that are

not present in the preference periods. The Plaintiff argues that because there is such a wide range

of payments made during the baseline period in each adversary proceeding, there can be no

ordinary course of business defense based on the application of this test. The Plaintiff cites to In

re Waterford Wedgewood USA, Inc., 508 B.R. 821, 835 (Bankr. S.D.N.Y. 2014) in support of his

argument. However, in the Waterford Wedgewood decision, the court analyzed an ordinary

course of business defense based on the business terms specific to the industry, which is an

objective test under section 547(c)(2)(B). This is not the subsection the Defendants have chosen

– they are relying on the subjective test set forth in subsection (c)(2)(A) based on the parties’

prior conduct. In the other case cited by the Plaintiff, In re Fabrikant, 2010 WL 4622449, the

court adopted the average lateness test and found that the averages were too far apart to apply

that test. The difference between the two averages were approximately fifty days apart in the

Fabrikant case, which is substantially different from the spreads between the averages in each of

these adversary proceedings. The court in Fabrikant declined to apply the range of payment test

because there were aberrant, unusual payments during the chosen baseline period which were

made well outside the average, thereby skewing the range.

           This Court agrees with the Defendants and adopts the average lateness test. This method

is more likely to “weed out” payments that could skew the analysis. If the average lateness test

reveals that the averages in each case are within several days of each other and the Court

believes that the Baseline Period provides a sufficient comparison to the payments made during

the preference period, then each of the Defendants will have met their burden and no further tests

need be examined. The results of the average lateness test are as follows:




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           Adversary Proceeding No. 21-8040: Average lateness during the Baseline Period is

40.55 days. Average lateness during the preference period is 36.71 days. The difference is less

than four days.

           Adversary Proceeding No. 20-8133: Average lateness during the Baseline Period is

39.33 days. Average lateness during the preference period is 46.2 days. The difference is less

than seven days.

           Adversary Proceeding No. 20-8125: Average lateness during the Baseline Period is

47.57 days. Average lateness during the preference period is 45.2 days. The difference is less

than three days.

            The Court has examined applicable case law regarding this test along with the general

course of conduct between the parties during the Baseline Period and the preference period. The

largest spread in averages between the Baseline Period and the preference period is less than

seven days. Keeping in mind that there are scores of transactions during the Baseline Period in

each case, coupled with the fact that there are sufficient transfers during the preference period in

each case to analyze, these averages provide sufficient evidence of an ordinary course defense to

the otherwise preferential transfers. In cases examining long-standing relationships between

debtors and suppliers, it is apparent that averages which are within these ranges are acceptable.

Unsecured Creditors Committee of Sparrer Sausage Co., 826 F.3d at at 396 (five day change

from 22 historic average days to pay to 27-day average in the preference period was not

“substantial enough to take any of the preference-period payments outside the ordinary course”);

Lovett v. St. Johnsbury Trucking, 931 F.2d 494 (8th Cir. 1991) (payments were ordinary where

they were paid 52 days on average compared to historical average of 62); Pirinate Consulting

Group, LLC v. Kadant Solutions Div. (In re NewPage Corp.), 2016 WL 5787237, at *4-5




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(Bankr. D. Del. Sept. 30, 2016) (payments with 9-day difference between preference period and

historical period averages were ordinary); Stanziale v. Industrial Specialists Inc. (In re Conex

Holdings, LLC), 522 B.R. 480, 490 (Bankr. D. Del. 2014) (difference in average days to pay of 7

is not “problematic [and does not] take the preferential transfers outside of the normal course of

dealings between the [debtor and the defendant]”); In re Lan Yik Foods Corp., 185 B.R. 103

(payments were ordinary where they were paid 110 days on average compared to historical

average of 89).

           The Plaintiff has provided graphs intended to show that the payments made during the

preference period were so out of the norm that using an average lateness test masks these

anomalies. However, the Court views these graphs differently. They show how within the norm

the payments during the preference period were as they are clumped so closely to the average

payment date. If anything, they are completely in character based on the parties’ prior payment

history.



           The Court sees no reason to go beyond the average lateness test but even if the Court

were to adopt the range of payment analysis, it would have been appropriate to further narrow

the test by using the bucketing analysis. Under a bucketing analysis, the percentage of payments

in each bucket need not be identical. See, e.g., St. Johnsbury Trucking, 931 F.2d at 498 (transfers

were ordinary “even though the percent paid within 45 days in the 90–day period was

considerably greater than in the prior 12–month period (54.9 percent versus 21.2 percent,

respectively).”); In re Conex Holdings, LLC, 522 B.R. at 485 (payments ordinary even though

86% were paid within 55 days of invoice date while historically only 40% were paid within 55

days of invoice date); In re T.B. Home Sewing Enterprises, 173 B.R. at 788-89 (preferences




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ordinary even though all were paid in the middle of the historic range in a bucket that only

reflects 18% of historical payments).

                  In our case, a bucketing analysis encompassing 82% of the payments made in the

Baseline Periods for each of the cases would capture all of the preference period payments in

Adversary Proceeding Nos. 20-8125 and 20-8133, and all but one payment in the amount of

$1,937.03 in Adversary Proceeding No. 21-8040. While the Court does not need to analyze the

new value defenses, it is likely that Kaufmann would be able to demonstrate at least part of the

new value alleged in the total amount of $51,524.25 which would cover this nominal payment.

           For these reasons, the Court grants the Motions as to their ordinary course of business

defense pursuant to section 547(c)(2)(B). The only cause of action outstanding is the fraudulent

conveyance claim in each adversary proceeding. However, since the Trustee has established a

prima facie case regarding the preference claims, it appears that each of the transfers were made

on account of an antecedent debt. There would be no basis for a constructive fraudulent

conveyance claim because adequate value was received bv the Debtors. The Defendants shall

circulate to the Plaintiff and submit proposed orders in each adversary proceeding granting the

Motions as set forth herein and dismissing each adversary proceeding.




                                                                  ____________________________
 Dated: Central Islip, New York                                        Robert E. Grossman
        February 3, 2022                                          United States Bankruptcy Judge


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